                           Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 1 of 50

 Fill in this information to identify your case and this filing:

  Debtor 1                 Robert                       James                        Rutzen
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                        Southern                    District of           Texas

  Case number             24-32693                                                                                                                                     ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ✔ No. Go to Part 2.
        ❑
        ❑ Yes. Where is the property?
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1                                                       ❑ Single-family home                                                  the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                portion you own?
                                                                  ❑ Land
                                                                  ❑ Investment property
                City               State         ZIP Code
                                                                  ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                  ❑ Other                                                              (such as fee simple, tenancy by the entireties, or
                                                                  Who has an interest in the property? Check one.                      a life estate), if known.
                County
                                                                  ❑ Debtor 1 only
                                                                  ❑ Debtor 2 only                                                      ❑ Check if this is community property
                                                                  ❑ Debtor 1 and Debtor 2 only                                              (see instructions)
                                                                  ❑ At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
        you have attached for Part 1. Write that number here ...................................................................................................
                                                                                                                                                                                      $0.00



  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑



Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
                          Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 2 of 50
Debtor Rutzen, Robert James                                                                                                 Case number (if known) 24-32693



       3.1     Make:                          Chevrolet          Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
               Model:           Sonic LT Sedan 4D                ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
               Year:                           2014              ❑ At least one of the debtors and another                            entire property?                portion you own?

               Approximate mileage:            149,000           ❑ Check if this is community property (see                                           $4,433.00                  $4,433.00
                                                                      instructions)
               Other information:

                VIN: 1G1JC5SH3E4203467



 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes

       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                                            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another
               Year:
                                                                                                                                      entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here ...................................................................................................
                                                                                                                                                                                 $4,433.00



  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ✔ No
       ❑
       ❑ Yes. Describe. .........




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2
                           Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 3 of 50
Debtor Rutzen, Robert James                                                                                                            Case number (if known) 24-32693



 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. .............




                                                                                                                                                                              ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here .................................................................................................................................
                                                                                                                                                                                  $0.00



  Part 4:            Describe Your Financial Assets




Official Form 106A/B                                                                      Schedule A/B: Property                                                                  page 3
                             Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 4 of 50
Debtor Rutzen, Robert James                                                                                                                       Case number (if known) 24-32693



 Do you own or have any legal or equitable interest in any of the following?                                                                                                                      Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                                  claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ✔ No
       ❑
       ❑ Yes ...................................................................................................................................................      Cash: ...................


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                                                                               Cash App
                                             17.1. Checking account:                           Account Number: XXXX                                                                                                $0.00

                                                                                               Woodforest National Bank
                                             17.2. Checking account:                           Account Number: XXXXXX3376                                                                                         $72.46

                                                                                               Woodforest National Bank
                                             17.3. Savings account:                            Account Number: XXXXXX                                                                                              $0.00


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................          Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them....................        Name of entity:                                                                                                        % of ownership:




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                          page 4
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Debtor Rutzen, Robert James                                                                         Case number (if known) 24-32693



 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................   Issuer name:




 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ✔ No
       ❑
       ❑ Yes. List each
           account separately. Type of account:                 Institution name:

                                      401(k) or similar plan:

                                      Pension plan:

                                      IRA:

                                      Retirement account:

                                      Keogh:

                                      Additional account:

                                      Additional account:


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................                         Institution name or individual:

                                      Electric:

                                      Gas:

                                      Heating oil:

                                      Security deposit on rental unit:

                                      Prepaid rent:

                                      Telephone:

                                      Water:

                                      Rented furniture:

                                      Other:



Official Form 106A/B                                                       Schedule A/B: Property                                     page 5
                         Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 6 of 50
Debtor Rutzen, Robert James                                                                               Case number (if known) 24-32693



 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................   Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                 them, including whether you                                                                        Federal:
                 already filed the returns and
                 the tax years. ...................                                                                 State:

                                                                                                                    Local:




Official Form 106A/B                                                     Schedule A/B: Property                                                             page 6
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Debtor Rutzen, Robert James                                                                              Case number (if known) 24-32693



 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                                   Alimony:

                                                                                                                   Maintenance:

                                                                                                                   Support:

                                                                                                                   Divorce settlement:

                                                                                                                   Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ✔ No
       ❑
       ❑ Yes. Name the insurance company
                of each policy and list its value. ...   Company name:                             Beneficiary:                           Surrender or refund value:




 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............




Official Form 106A/B                                                   Schedule A/B: Property                                                                 page 7
                           Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 8 of 50
Debtor Rutzen, Robert James                                                                                                            Case number (if known) 24-32693



 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........



                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here .................................................................................................................................
                                                                                                                                                                                                $72.46



  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                         Name of entity:                                                                                            % of ownership:




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                  page 8
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Debtor Rutzen, Robert James                                                                                                            Case number (if known) 24-32693



 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                   ❑ No
                   ❑ Yes. Describe. .........


 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here .................................................................................................................................
                                                                                                                                                                                                 $0.00



  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                  page 9
                           Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 10 of 50
Debtor Rutzen, Robert James                                                                                                                Case number (if known) 24-32693



 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here .................................................................................................................................
                                                                                                                                                                                               $0.00



  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔              $0.00


  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔          $0.00


 56.   Part 2: Total vehicles, line 5                                                                                $4,433.00

 57.   Part 3: Total personal and household items, line 15                                                                  $0.00

 58.   Part 4: Total financial assets, line 36                                                                            $72.46

 59.   Part 5: Total business-related property, line 45                                                                     $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                            $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                        $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                             $4,505.46             Copy personal property total             ➔   +   $4,505.46




Official Form 106A/B                                                                         Schedule A/B: Property                                                                            page 10
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Debtor Rutzen, Robert James                                                                                                Case number (if known) 24-32693




 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................   $4,505.46




Official Form 106A/B                                                               Schedule A/B: Property                                                           page 11
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 Fill in this information to identify your case:

  Debtor 1            Robert                  James                 Rutzen
                      First Name             Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name           Last Name

  United States Bankruptcy Court for the:              Southern               District of       Texas

  Case number         24-32693
  (if known)                                                                                                                            ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out
and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific
dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable
statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited
in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount
and the value of the property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

      Part 1:     Identify the Property You Claim as Exempt


 1.    Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       ❑
       ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.    For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

       Brief description of the property and        Current value of the       Amount of the exemption you claim             Specific laws that allow exemption
       line on Schedule A/B that lists this         portion you own
       property                                                                Check only one box for each exemption.
                                                    Copy the value from
                                                    Schedule A/B

       Brief             2014 Chevrolet                      $4,433.00
       description:      Sonic LT Sedan 4D
                         VIN:
                         1G1JC5SH3E4203467                                     ✔
                                                                               ❑            $1,677.00                        Tex. Prop. Code §§ 42.001(a),
       Line from                                                               ❑ 100% of fair market value, up to            42.002(a)(9)
       Schedule A/B:        3.1                                                     any applicable statutory limit

 3.    Are you claiming a homestead exemption of more than $189,050?
       (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

       ✔ No
       ❑
       ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                               page 1 of 2
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Debtor 1            Robert                 James               Rutzen                         Case number (if known) 24-32693
                First Name             Middle Name             Last Name



   Part 2:      Additional Page

     Brief description of the property and         Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
     line on Schedule A/B that lists this          portion you own
     property                                                              Check only one box for each exemption.
                                                   Copy the value from
                                                   Schedule A/B

     Brief              Woodforest                             $72.46
     description:       National Bank
                        Checking account
                        Acct. No.: XXXXXX3376                              ✔
                                                                           ❑         $72.46                          15 U.S.C. § 1673
     Line from                                                             ❑   100% of fair market value, up to
     Schedule A/B:           17                                                any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                      page 2 of 2
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 Fill in this information to identify your case:

     Debtor 1           Robert                 James                  Rutzen
                        First Name             Middle Name           Last Name

     Debtor 2
     (Spouse, if filing) First Name            Middle Name           Last Name

     United States Bankruptcy Court for the:             Southern               District of        Texas

     Case number (if 24-32693
     known)                                                                                                                                    ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor              Column A               Column B              Column C
         separately for each claim. If more than one creditor has a particular claim, list the other            Amount of claim        Value of collateral   Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the       Do not deduct the
                                                                                                                                       that supports this    portion
         creditor’s name.                                                                                       value of collateral.
                                                                                                                                       claim                 If any

     2.1 Huntington National Bank                      Describe the property that secures the claim:                    $2,756.00              $4,433.00              $0.00
         Creditor’s Name
                                                       2014 Chevrolet Sonic LT Sedan 4D
          Attn: Bankruptcy
          PO Box 340996                                As of the date you file, the claim is: Check all that apply.
         Number          Street                        ❑ Contingent
          Columbus, OH 43234                           ❑ Unliquidated
         City               State       ZIP Code       ❑ Disputed
         Who owes the debt? Check one.                 Nature of lien. Check all that apply.
         ❑ Debtor 1 only                               ✔ An agreement you made (such as mortgage or secured car loan)
                                                       ❑
         ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
         ❑ Debtor 1 and Debtor 2 only                  ❑ Judgment lien from a lawsuit
         ✔ At least one of the debtors and
         ❑                                             ❑ Other (including a right to
              another                                      offset)
         ❑ Check if this claim relates to a
              community debt
         Date debt was incurred        12/1/2021       Last 4 digits of account number         3    2       3   7

         Add the dollar value of your entries in Column A on this page. Write that number here:                         $2,756.00




Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
                        Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 15 of 50
 Fill in this information to identify your case:

  Debtor 1            Robert                  James                   Rutzen
                     First Name              Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                Southern               District of       Texas

  Case number        24-32693
  (if known)                                                                                                                                  ❑ Check if this is an
                                                                                                                                                   amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes.
      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 Capital One                                                        Last 4 digits of account number           4    3    0    3                              $376.00
         Nonpriority Creditor’s Name
                                                                         When was the debt incurred?                   11/1/2022
         Attn: Bankruptcy
         PO Box 30285
                                                                         As of the date you file, the claim is: Check all that apply.
         Number              Street
                                                                         ❑ Contingent
         Salt Lake City, UT 84130-0285
                                                                         ❑ Unliquidated
                                                                         ❑ Disputed
         City                      State                   ZIP Code

         Who incurred the debt? Check one.
         ✔ Debtor 1 only
         ❑
                                                                         Type of NONPRIORITY unsecured claim:

         ❑ Debtor 2 only                                                 ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                    ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                             priority claims
         ❑ At least one of the debtors and another                       ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify CreditCard
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 5
                       Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 16 of 50
Debtor 1        Robert                  James               Rutzen                          Case number (if known) 24-32693
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.2 Consumer Mortgage Co                                       Last 4 digits of account number         1    2   0    1                              $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 6/19/2019
       Attn Bankruptcy Dept
       4608 Nolda St
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Houston, TX 77007
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Automobile
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.3 Discover Financial                                         Last 4 digits of account number         1    7   5    2                         $4,786.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/1/2019
       Attn: Bankruptcy
       PO Box 3025
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       New Albany, OH 43054
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 2 of 5
                       Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 17 of 50
Debtor 1        Robert                  James               Rutzen                          Case number (if known) 24-32693
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.4 Invitae Corporation                                        Last 4 digits of account number        X    X    X    X                           $250.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       PO Box 24132
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Pasadena, CA 91185
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Medical Bill
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.5 T.L Thompson & Associates, Inc                             Last 4 digits of account number        X    X    X    X                         $4,790.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       PO Box 496149
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Garland, TX 75049
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Insurance Claim
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3 of 5
                       Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 18 of 50
Debtor 1        Robert                James                  Rutzen                          Case number (if known) 24-32693
               First Name             Middle Name           Last Name


   Part 3:      List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
    collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
    agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
    you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 1. L. D. Cowart & Associates                                     On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.3 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     Attn: Larandol Donnell Cowart, Esq.                                                        ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
     14090 SW Freeway Suite 408                                   Last 4 digits of account number
    Number         Street
     Sugar Land, TX 77478
    City                         State          ZIP Code




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 5
                         Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 19 of 50
Debtor 1          Robert                  James                  Rutzen                      Case number (if known) 24-32693
                  First Name             Middle Name            Last Name


      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.    Domestic support obligations                                6a.                          $0.00
 from Part 1
                   6b.    Taxes and certain other debts you owe the government        6b.                          $0.00

                   6c.    Claims for death or personal injury while you were          6c.                          $0.00
                          intoxicated

                   6d.    Other. Add all other priority unsecured claims.             6d.   +                      $0.00
                          Write that amount here.

                   6e.    Total. Add lines 6a through 6d.                             6e.
                                                                                                                  $0.00



                                                                                                Total claim

 Total claims      6f.    Student loans                                               6f.                          $0.00
 from Part 2
                   6g.    Obligations arising out of a separation agreement or        6g.                          $0.00
                          divorce that you did not report as priority claims

                   6h.    Debts to pension or profit-sharing plans, and other         6h.                          $0.00
                          similar debts

                   6i.    Other. Add all other nonpriority unsecured claims.          6i.   +                 $10,202.00
                          Write that amount here.

                   6j.    Total. Add lines 6f through 6i.                             6j.
                                                                                                              $10,202.00




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                     page 5 of 5
                                    Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 20 of 50

 Fill in this information to identify your case:

     Debtor 1                       Robert               James               Rutzen
                                    First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                           Southern District of Texas

     Case number                            24-32693                                                                                     ❑ Check if this is an
     (if known)                                                                                                                              amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                              State what the contract or lease is for

2.1

        Name

        Number             Street

        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                          page 1 of 1
                        Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 21 of 50
 Fill in this information to identify your case:

  Debtor 1           Robert                   James                   Rutzen
                     First Name              Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                  Southern            District of       Texas

  Case number      24-32693
  (if known)                                                                                                                               ❑ Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑ No
        ✔ Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔ No. Go to line 3.
        ❑
        ❑ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑ No
          ❑ Yes. In which community state or territory did you live?                                      . Fill in the name and current address of that person.


                 Name of your spouse, former spouse, or legal equivalent


                 Number                   Street


                 City                              State                          ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                          Column 2: The creditor to whom you owe the debt

                                                                                                         Check all schedules that apply:
 3.1    William Rutzen
        Name                                                                                             ✔ Schedule D, line
                                                                                                         ❑                          2.1

        4022 Lake Cypress Circle                                                                         ❑ Schedule E/F, line
        Number                          Street
                                                                                                         ❑ Schedule G, line
        Houston, TX 77068
        City                                       State                                     ZIP Code

 3.2
        Name                                                                                             ❑ Schedule D, line
                                                                                                         ❑ Schedule E/F, line
        Number                          Street
                                                                                                         ❑ Schedule G, line
        City                                       State                                     ZIP Code




Official Form 106H                                                      Schedule H: Codebtors                                                           page 1 of 1
                           Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 22 of 50

 Fill in this information to identify your case:

  Debtor 1                  Robert                 James               Rutzen
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name                                               Check if this is:

                                                                 Southern District of Texas
                                                                                                                              ❑ An amended filing
                                                                                                                              ❑ A supplement showing postpetition
  United States Bankruptcy Court for the:

  Case number                       24-32693                                                                                     chapter 13 income as of the following date:
  (if known)

                                                                                                                                 MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                Debtor 1                                           Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status            ✔ Employed ❑ Not Employed
                                                                          ❑                                                    ❑ Employed ❑ Not Employed
     attach a separate page with
     information about additional            Occupation                   Retail Sales Representative
     employers.
                                             Employer's name              Sketchers
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address           28519 Tomball Parkway
     Occupation may include student                                        Number Street                                        Number Street
     or homemaker, if it applies.




                                                                          Tomball, TX 77375
                                                                           City                     State      Zip Code         City                State     Zip Code
                                             How long employed there? 1 month


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1      For Debtor 2 or
                                                                                                                          non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.            2.               $2,845.82                     $0.00

 3. Estimate and list monthly overtime pay.                                                3.   +               $0.00     +               $0.00


 4. Calculate gross income. Add line 2 + line 3.                                           4.               $2,845.82                     $0.00




Official Form 106I                                                         Schedule I: Your Income                                                                 page 1
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 Debtor 1                 Robert                       James                           Rutzen                                        Case number (if known) 24-32693
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.           $2,845.82                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.            $255.32                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.              $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.              $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.              $0.00                    $0.00
       5e. Insurance                                                                                           5e.              $0.00                    $0.00
       5f. Domestic support obligations                                                                        5f.              $0.00                    $0.00
       5g. Union dues                                                                                          5g.              $0.00                    $0.00
       5h. Other deductions. Specify:                                                                          5h.   +          $0.00         +          $0.00
 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.             $255.32                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.           $2,590.50                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.              $0.00                    $0.00
       8b. Interest and dividends                                                                              8b.              $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.              $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.              $0.00                    $0.00
       8e. Social Security                                                                                     8e.              $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.

            Specify:                                                                                           8f.              $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.              $0.00                    $0.00
       8h. Other monthly income. Specify:                                                                      8h.   +          $0.00         +          $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.               $0.00                     $0.00
 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.          $2,590.50     +               $0.00         =         $2,590.50

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.            $2,590.50
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
                           Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 24 of 50

 Fill in this information to identify your case:

  Debtor 1                  Robert                  James                Rutzen
                                                                                                                 Check if this is:
                           First Name               Middle Name         Last Name
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                         Southern District of Texas
                                                                                                                      MM / DD / YYYY
  Case number                       24-32693
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ✔ No
                                               ❑
     Do not list Debtor 1 and                  ❑ Yes. Fill out this information         Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.                                                                                                                                    ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                        $0.00

     If not included in line 4:
     4a. Real estate taxes                                                                                                    4a.                       $0.00
     4b. Property, homeowner's, or renter's insurance                                                                         4b.                       $0.00
     4c. Home maintenance, repair, and upkeep expenses                                                                        4c.                       $0.00
     4d. Homeowner's association or condominium dues                                                                          4d.                       $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
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 Debtor 1            Robert                 James                Rutzen                                      Case number (if known) 24-32693
                     First Name             Middle Name          Last Name


                                                                                                                            Your expenses


 5.    Additional mortgage payments for your residence, such as home equity loans                                 5.                        $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                         6a.                $1,200.00
       6b. Water, sewer, garbage collection                                                                       6b.                       $0.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                         6c.                       $0.00

       6d. Other. Specify: Subscriptions                                                                          6d.                    $25.00
 7.    Food and housekeeping supplies                                                                             7.                   $450.00

 8.    Childcare and children’s education costs                                                                   8.                        $0.00

 9.    Clothing, laundry, and dry cleaning                                                                        9.                   $100.00

 10. Personal care products and services                                                                          10.                  $100.00

 11.   Medical and dental expenses                                                                                11.                       $0.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                 12.                  $150.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                           13.                  $200.00

 14. Charitable contributions and religious donations                                                             14.                       $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                                        15a.                      $0.00
       15b. Health insurance                                                                                      15b.                      $0.00
       15c. Vehicle insurance                                                                                     15c.                 $300.00

       15d. Other insurance. Specify:                                                                             15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                   16.                       $0.00

 17. Installment or lease payments:
       17a. Car payments for Vehicle 1                                                                            17a.                   $93.00
       17b. Car payments for Vehicle 2                                                                            17b.                      $0.00
       17c. Other. Specify:                                                                                       17c.                      $0.00
       17d. Other. Specify:                                                                                       17d.                      $0.00
 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                       18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                   19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
       20a. Mortgages on other property                                                                           20a.                      $0.00
       20b. Real estate taxes                                                                                     20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                          20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                              20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                           20e.                      $0.00



Official Form 106J                                                          Schedule J: Your Expenses                                               page 2
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 Debtor 1            Robert              James                 Rutzen                                       Case number (if known) 24-32693
                     First Name          Middle Name           Last Name



 21. Other. Specify:                                                                                             21.    +                $0.00


 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                               22a.                 $2,618.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                       22b.                     $0.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                            22c.                 $2,618.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                          23a.                $2,590.50

      23b. Copy your monthly expenses from line 22c above.                                                       23b.       –         $2,618.00
      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                               23c.                  ($27.50)



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                page 3
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 Fill in this information to identify your case:

  Debtor 1                      Robert                      James                    Rutzen
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                   Southern District of Texas

  Case number                              24-32693                                                                                                                      ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                             $0.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                              $4,505.46

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                        $4,505.46



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                 $2,756.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                          $0.00

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +            $10,202.00

                                                                                                                                                  Your total liabilities                    $12,958.00

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                    $2,590.50


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                  $2,618.00




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
                         Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 28 of 50

Debtor 1            Robert                James                  Rutzen                                            Case number (if known) 24-32693
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
   ❑
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                              $723.62




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                           $0.00


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                  $0.00


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                        $0.00


    9d. Student loans. (Copy line 6f.)                                                                                         $0.00


    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                        $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +                  $0.00


    9g. Total. Add lines 9a through 9f.                                                                                       $0.00




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                          page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                  Robert                 James               Rutzen
                            First Name             Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name        Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                       24-32693                                                                                       ❑ Check if this is an
  (if known)                                                                                                                            amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                         12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                             . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                       Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Robert James Rutzen
        Robert James Rutzen, Debtor 1


        Date 06/17/2024
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                           Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 30 of 50

 Fill in this information to identify your case:

  Debtor 1                  Robert                 James               Rutzen
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                       24-32693                                                                                         ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                             Dates Debtor 2 lived
                                                             there                                                                         there


                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                             State ZIP Code                                   City                          State ZIP Code



                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                             State ZIP Code                                   City                          State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
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Debtor 1            Robert            James                  Rutzen                                          Case number (if known) 24-32693
                    First Name        Middle Name            Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross Income                Sources of income           Gross Income
                                                Check all that apply.       (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)

                                               ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
    From January 1 of current year until the
                                                    bonuses, tips                     $2,138.25            bonuses, tips
    date you filed for bankruptcy:
                                               ❑ Operating a business                                  ❑ Operating a business

    For last calendar year:                    ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
                                                    bonuses, tips                     $8,215.00            bonuses, tips
    (January 1 to December 31, 2023       )
                                   YYYY        ❑ Operating a business                                  ❑ Operating a business

    For the calendar year before that:         ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
                                                    bonuses, tips                   $13,162.00             bonuses, tips
    (January 1 to December 31, 2022       )
                                   YYYY        ❑ Operating a business                                  ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross income from           Sources of income           Gross Income from
                                                Describe below.             each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:


    For last calendar year:
    (January 1 to December 31, 2023       )
                                   YYYY



    For the calendar year before that:
    (January 1 to December 31, 2022       )
                                   YYYY




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
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Debtor 1             Robert                       James                Rutzen                                         Case number (if known) 24-32693
                     First Name                   Middle Name          Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑ No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ❑ Yes.        List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                            paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                            not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔ Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ✔ No. Go to line 7.
              ❑
              ❑ Yes.        List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                            include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                            an attorney for this bankruptcy case.

                                                                  Dates of           Total amount paid         Amount you still owe       Was this payment for…
                                                                  payment

                                                                                                                                         ❑ Mortgage
             Creditor's Name
                                                                                                                                         ❑ Car
                                                                                                                                         ❑ Credit card
                                                                                                                                         ❑ Loan repayment
             Number       Street


                                                                                                                                         ❑ Suppliers or vendors
             City                         State      ZIP Code
                                                                                                                                         ❑ Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
                                                                Dates of           Total amount paid   Amount you still          Reason for this payment
                                                                payment                                owe



    Insider's Name


    Number     Street




    City                          State      ZIP Code




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
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Debtor 1             Robert                James                  Rutzen                                          Case number (if known) 24-32693
                     First Name            Middle Name            Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                     Nature of the case                      Court or agency                                  Status of the case

    Case title        Discover Bank vs                                                      In the Justice Court Harris                     ✔ Pending
                                                                                                                                            ❑
                      Robert J Rutzen                                                       County, Texas Precinct 4 Place 1
                                                                                            Court Name
                                                                                                                                            ❑ On appeal
    Case number 2441001920295
                                                                                            6831 Cypresswood Drive, Ste. 4                  ❑ Concluded
                                                                                            Number       Street
                                                                                            Spring, TX 77379
                                                                                            City                      State     ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 4
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Debtor 1            Robert                 James                   Rutzen                                         Case number (if known) 24-32693
                    First Name             Middle Name             Last Name

                                                                    Describe the property                                Date             Value of the property



    Creditor’s Name



    Number     Street                                               Explain what happened

                                                                   ❑ Property was repossessed.
                                                                   ❑ Property was foreclosed.
                                                                   ❑ Property was garnished.
    City                           State    ZIP Code               ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was   Amount
                                                                                                                       taken
    Creditor’s Name



    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5
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Debtor 1             Robert                 James                Rutzen                                         Case number (if known) 24-32693
                     First Name             Middle Name          Last Name

     Gifts with a total value of more than $600           Describe the gifts                                        Dates you gave     Value
     per person                                                                                                     the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities          Describe what you contributed                                Date you              Value
     that total more than $600                                                                                 contributed



    Charity’s Name




    Number     Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                           Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
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Debtor 1            Robert              James                Rutzen                                         Case number (if known) 24-32693
                    First Name          Middle Name          Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                              Description and value of any property transferred            Date payment or     Amount of payment
    Resolve Law Group                                                                                      transfer was made
    Person Who Was Paid                       Filing Fee; Credit Report
                                                                                                           6/5/2024                      $338.00
    801 Travis Street Suite 2101
    Number     Street                                                                                      06/05/2024                         $25.00


    Houston, TX 77002
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You

                                              Description and value of any property transferred            Date payment or     Amount of payment
    Allen Credit & Debt Counseling                                                                         transfer was made
    Agency                         Credit Counseling Course
    Person Who Was Paid                                                                                    06/05/2024                         $20.00
    800 Dakota Ave. N
    Number     Street




    Huron, SD 57350
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of any property transferred            Date payment or     Amount of payment
                                                                                                           transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code


Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 7
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Debtor 1            Robert              James                Rutzen                                         Case number (if known) 24-32693
                    First Name          Middle Name          Last Name



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of property         Describe any property or payments             Date transfer was
                                              transferred                               received or debts paid in exchange            made

    Person Who Received Transfer



    Number     Street




    City                   State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of the property transferred                                       Date transfer was
                                                                                                                                      made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 8
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Debtor 1            Robert               James                 Rutzen                                        Case number (if known) 24-32693
                    First Name           Middle Name           Last Name

                                                 Last 4 digits of account number        Type of account or     Date account was          Last balance
                                                                                        instrument             closed, sold, moved, or   before closing or
                                                                                                               transferred               transfer

    Name of Financial Institution
                                                 XXXX–                                ❑ Checking
                                                                                      ❑ Savings
    Number      Street
                                                                                      ❑ Money market
                                                                                      ❑ Brokerage
                                                                                      ❑ Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Who else had access to it?                  Describe the contents                       Do you still have
                                                                                                                                          it?

                                                                                                                                         ❑ No
    Name of Financial Institution                Name
                                                                                                                                         ❑ Yes

    Number      Street                           Number    Street



                                                 City                State   ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Who else has or had access to it?           Describe the contents                       Do you still have
                                                                                                                                          it?

                                                                                                                                         ❑ No
    Name of Storage Facility                     Name
                                                                                                                                         ❑ Yes

    Number      Street                           Number    Street



                                                 City                State   ZIP Code

    City                   State    ZIP Code




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 9
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Debtor 1            Robert              James                 Rutzen                                               Case number (if known) 24-32693
                    First Name          Middle Name            Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Where is the property?                            Describe the property                     Value



    Owner's Name
                                                Number    Street



    Number     Street

                                                City                      State   ZIP Code



    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Governmental unit                            Environmental law, if you know it              Date of notice



    Name of site                              Governmental unit



    Number     Street                         Number     Street



                                              City                State     ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.



Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 10
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Debtor 1            Robert                James                     Rutzen                                           Case number (if known) 24-32693
                    First Name            Middle Name               Last Name

                                                   Governmental unit                        Environmental law, if you know it                 Date of notice



    Name of site                                  Governmental unit



    Number        Street                          Number       Street



                                                  City                  State   ZIP Code


    City                    State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Court or agency                          Nature of the case                                Status of the case



    Case title                                                                                                                               ❑ Pending
                                                                                                                                             ❑ On appeal
                                                  Court Name


                                                                                                                                             ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔ No. None of the above applies. Go to Part 12.
    ❑
    ❑ Yes. Check all that apply above and fill in the details below for each business.
                                                    Describe the nature of the business                      Employer Identification number
                                                                                                             Do not include Social Security number or ITIN.
    Name
                                                                                                              EIN:          –

    Number        Street
                                                    Name of accountant or bookkeeper                         Dates business existed


                                                                                                              From                 To

    City                    State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 11
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Debtor 1            Robert              James                    Rutzen                                     Case number (if known) 24-32693
                    First Name          Middle Name              Last Name



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                 Date issued



    Name                                        MM / DD / YYYY



    Number       Street




    City                   State   ZIP Code




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Robert James Rutzen
           Signature of Robert James Rutzen, Debtor 1


           Date 06/17/2024




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                    Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                           Declaration, and Signature (Official Form 119).




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 12
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 Fill in this information to identify your case:

  Debtor 1                  Robert                 James               Rutzen
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                       24-32693                                                                                      ❑ Check if this is an
  (if known)                                                                                                                          amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier,
unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
and case number (if known).


 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral             What do you intend to do with the property that secures Did you claim the property as
                                                                           a debt?                                                 exempt on Schedule C?

    Creditor’s                                                             ❑ Surrender the property.                                ❑ No
    name:               Huntington National Bank
                                                                           ❑ Retain the property and redeem it.                     ✔ Yes
                                                                                                                                    ❑
    Description of
    property
                        2014 Chevrolet Sonic LT Sedan 4D
                                                                           ❑ Retain the property and enter into a
    securing debt:                                                                Reaffirmation Agreement.
                                                                           ✔ Retain the property and [explain]:
                                                                           ❑
                                                                                  Retain and Pay




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                         page 1
                         Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 43 of 50

 Debtor 1            Robert             James                  Rutzen                                       Case number (if known) 24-32693
                     First Name         Middle Name            Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
 information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an
 unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                         Will the lease be assumed?
    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.



  ✘ /s/ Robert James Rutzen
      Signature of Debtor 1


      Date 06/17/2024
            MM/ DD/ YYYY




Official Form 108                                 Statement of Intention for Individuals Filing Under Chapter 7                                          page 2
                           Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 44 of 50
 Fill in this information to identify your case:                                                              Check one box only as directed in this form and in
                                                                                                              Form 122A-1Supp:
  Debtor 1                  Robert                 James                Rutzen                                ✔ 1. There is no presumption of abuse.
                                                                                                              ❑
                           First Name              Middle Name          Last Name
                                                                                                              ❑ 2. The calculation to determine if a presumption
  Debtor 2
                                                                                                                 of abuse applies will be made under Chapter 7
  (Spouse, if filing)      First Name              Middle Name          Last Name                                Means Test Calculation (Official Form 122A-2).

  United States Bankruptcy Court for the:                        Southern District of Texas                   ❑ 3. The Means Test does not apply now because
                                                                                                                 of qualified military service but it could apply later.
  Case number                       24-32693
  (if known)                                                                                                  ❑ Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                               12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or
because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp)
with this form.

 Part 1: Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
     ✔ Not married. Fill out Column A, lines 2-11.
     ❑
     ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
     ❑ Married and your spouse is NOT filing with you. You and your spouse are:
        ❑ Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
        ❑ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                          Column A             Column B
                                                                                                          Debtor 1             Debtor 2 or
                                                                                                                               non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
    deductions).                                                                                                $723.62
 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B
    is filled in.                                                                                                    $0.00
 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Include regular contributions from a spouse only if Column B is not filled in. Do
    not include payments you listed on line 3.                                                                       $0.00
 5. Net income from operating a business, profession,
                                                                        Debtor 1        Debtor 2
    or farm
     Gross receipts (before all deductions)                                 $0.00

     Ordinary and necessary operating expenses                      -       $0.00   -
                                                                                                   Copy
                                                                            $0.00
     Net monthly income from a business, profession, or farm                                       here
                                                                                                   →                 $0.00
 6. Net income from rental and other real property                      Debtor 1        Debtor 2
     Gross receipts (before all deductions)                                 $0.00

     Ordinary and necessary operating expenses                      -       $0.00   -
                                                                                                   Copy
                                                                            $0.00
     Net monthly income from rental or other real property                                         here
                                                                                                   →                 $0.00
 7. Interest, dividends, and royalties                                                                               $0.00

 Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                             page 1
                                  Case 24-32693 Document 10 Filed in TXSB on 06/17/24 Page 45 of 50
Debtor 1                   Robert                         James                             Rutzen                                        Case number (if known) 24-32693
                           First Name                     Middle Name                       Last Name
                                                                                                                           Column A                       Column B
                                                                                                                           Debtor 1                       Debtor 2 or
                                                                                                                                                          non-filing spouse
       8. Unemployment compensation                                                                                                        $0.00
           Do not enter the amount if you contend that the amount received was a benefit
           under
           the Social Security Act. Instead, list it here: ..................................................   ↓
           For you....................................................................................          $0.00
           For your spouse......................................................................
       9. Pension or retirement income. Do not include any amount received that was a                                                      $0.00
          benefit under the Social Security Act. Also, except as stated in the next sentence,
          do not include any compensation, pension, pay, annuity, or allowance paid by the
          United States Government in connection with a disability, combat-related injury or
          disability, or death of a member of the uniformed services. If you received any
          retired pay paid under chapter 61 of title 10, then include that pay only to the extent
          that it does not exceed the amount of retired pay to which you would otherwise be
          entitled if retired under any provision of title 10 other than chapter 61 of that title.
       10. Income from all other sources not listed above. Specify the source and amount.
           Do not include any benefits received under the Social Security Act; payments
           received as a victim of a war crime, a crime against humanity, or international or
           domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by
           the United States Government in connection with a disability, combat-related
           injury or disability, or death of a member of the uniformed services. If necessary,
           list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                            +                               +

       11. Calculate your total current monthly income. Add lines 2 through 10 for                                                    $723.62              +                        =     $723.62
           each column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                     Total current
                                                                                                                                                                                    monthly income

 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a. Copy your total current monthly income from line 11....................................................................................      Copy line 11 here →                $723.62
            Multiply by 12 (the number of months in a year).                                                                                                                            X 12
    12b. The result is your annual income for this part of the form.                                                                                                       12b.         $8,683.44
13. Calculate the median family income that applies to you. Follow these steps:
    Fill in the state in which you live.                                             Texas

    Fill in the number of people in your household.                                  1

    Fill in the median family income for your state and size of household.................................................................................................... 13.   $61,460.00
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?
         ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
    14a. ❑
           Go to Part 3. Do NOT fill out or file Official Form 122A-2.
    14b. ❑ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
           Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                                  Chapter 7 Statement of Your Current Monthly Income                                                       page 2
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Debtor 1           Robert                James                   Rutzen                                       Case number (if known) 24-32693
                   First Name            Middle Name              Last Name

Part 3: Sign Below

    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

   ✘ /s/ Robert James Rutzen
       Signature of Debtor 1

       Date 06/17/2024
              MM/ DD/ YYYY

    If you checked line 14a, do NOT fill out or file Form 122A–2.
    If you checked line 14b, fill out Form 122A–2 and file it with this form.




Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income                                 page 3
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                Notice Required by 11 U.S.C. § 342(b) for
                Individuals Filing for Bankruptcy (Form 2010)


                  This notice is for you if:                                          Chapter 7: Liquidation

                         You are an individual filing for                                              $245    filing fee
                         bankruptcy, and
                                                                                                         $78   administrative fee
                                                                                                 +       $15   trustee surcharge
                         Your debts are primarily consumer debts.
                         Consumer debts are defined in 11 U.S.C. §                                     $338    total fee
                         101(8) as “incurred by an individual
                         primarily for a personal, family, or                        Chapter 7 is for individuals who have financial
                         household purpose.”                                         difficulty preventing them from paying their
                                                                                     debts and who are willing to allow their non-
                                                                                     exempt property to be used to pay their
                                                                                     creditors. The primary purpose of filing under
                                                                                     chapter 7 is to have your debts discharged.
                The types of bankruptcy that are                                     The bankruptcy discharge relieves you after
                available to individuals                                             bankruptcy from having to pay many of your
                                                                                     pre-bankruptcy debts. Exceptions exist for
                Individuals who meet the qualifications may file                     particular debts, and liens on property may
                under one of four different chapters of the                          still be enforced after discharge. For example,
                Bankruptcy Code:                                                     a creditor may have the right to foreclose a
                                                                                     home mortgage or repossess an automobile.
                        Chapter 7 — Liquidation
                                                                                     However, if the court finds that you have committed
                        Chapter 11— Reorganization                                   certain kinds of improper conduct described in the
                                                                                     Bankruptcy Code, the court may deny your
                        Chapter 12— Voluntary repayment plan                         discharge.
                                    for family farmers or
                                    fishermen                                        You should know that even if you file chapter 7 and
                                                                                     you receive a discharge, some debts are not
                        Chapter 13— Voluntary repayment plan                         discharged under the law. Therefore, you may still
                                    for individuals with regular                     be responsible to pay:
                                    income
                                                                                             most taxes;
                You should have an attorney review your                                      most student loans;
                decision to file for bankruptcy and the choice of                            most domestic support and property
                chapter.                                                                     settlement obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)        page 1
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                                                                                     your income is more than the median income for
                        most fines, penalties, forfeitures, and                      your state of residence and family size, depending
                        criminal restitution obligations; and                        on the results of the Means Test, the U.S. trustee,
                        certain debts that are not listed in your
                                                                                     bankruptcy administrator, or creditors can file a
                        bankruptcy papers.                                           motion to dismiss your case under § 707(b) of the
                You may also be required to pay debts arising                        Bankruptcy Code. If a motion is filed, the court will
                from:                                                                decide if your case should be dismissed. To avoid
                                                                                     dismissal, you may choose to proceed under
                        fraud or theft;
                                                                                     another chapter of the Bankruptcy Code.
                        fraud or defalcation while acting in breach
                        of fiduciary capacity;
                                                                                     If you are an individual filing for chapter 7
                        intentional injuries that you inflicted; and
                                                                                     bankruptcy, the trustee may sell your property to
                        death or personal injury caused by
                                                                                     pay your debts, subject to your right to exempt the
                        operating a motor vehicle, vessel, or
                                                                                     property or a portion of the proceeds from the sale
                        aircraft while intoxicated from alcohol or
                                                                                     of the property. The property, and the proceeds
                        drugs.
                                                                                     from property that your bankruptcy trustee sells or
                                                                                     liquidates that you are entitled to, is called exempt
                If your debts are primarily consumer debts, the
                                                                                     property. Exemptions may enable you to keep your
                court can dismiss your chapter 7 case if it finds that
                                                                                     home, a car, clothing, and household items or to
                you have enough income to repay creditors a
                                                                                     receive some of the proceeds if the property is
                certain amount. You must file Chapter 7 Statement
                                                                                     sold.
                of Your Current Monthly Income (Official Form
                122A–1) if you are an individual filing for
                                                                                     Exemptions are not automatic. To exempt property,
                bankruptcy under chapter 7. This form will
                                                                                     you must list it on Schedule C: The Property You
                determine your current monthly income and
                                                                                     Claim as Exempt (Official Form 106C). If you do
                compare whether your income is more than the
                                                                                     not list the property, the trustee may sell it and pay
                median income that applies in your state.
                                                                                     all of the proceeds to your creditors.

                If your income is not above the median for your
                state, you will not have to complete the other
                                                                                      Chapter 11: Reorganization
                chapter 7 form, the Chapter 7 Means Test
                Calculation (Official Form 122A–2).
                                                                                                          $1,167   filing fee
                                                                                                 +         $571    administrative fee
                If your income is above the median for your state,
                you must file a second form —theChapter 7                                                 $1,738   total fee
                Means Test Calculation (Official Form 122A–2).
                The calculations on the form— sometimes called                       Chapter 11 is often used for reorganizing a
                the Means Test —deduct from your income living                       business, but is also available to individuals. The
                expenses and payments on certain debts to                            provisions of chapter 11 are too complicated to
                determine any amount available to pay unsecured                      summarize briefly.
                creditors. If




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)         page 2
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                  Read These Important Warnings

                      Because bankruptcy can have serious long-term financial and legal consequences, including loss of
                      your property, you should hire an attorney and carefully consider all of your options before you file.
                      Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
                      and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
                      properly and protect you, your family, your home, and your possessions.

                      Although the law allows you to represent yourself in bankruptcy court, you should understand that
                      many people find it difficult to represent themselves successfully. The rules are technical, and a
                      mistake or inaction may harm you. If you file without an attorney, you are still responsible for
                      knowing and following all of the legal requirements.

                      You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
                      necessary documents.

                      Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
                      bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
                      fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
                      to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                 Chapter 12: Repayment plan for family                               Under chapter 13, you must file with the court a
                             farmers or fishermen                                    plan to repay your creditors all or part of the money
                                                                                     that you owe them, usually using your future
                                     $200    filing fee                              earnings. If the court approves your plan, the court
                                                                                     will allow you to repay your debts, as adjusted by
                            +         $78    administrative fee
                                                                                     the plan, within 3 years or 5 years, depending on
                                     $278    total fee                               your income and other factors.

                Similar to chapter 13, chapter 12 permits family                     After you make all the payments under your plan,
                farmers and fishermen to repay their debts over a                    many of your debts are discharged. The debts that
                period of time using future earnings and to                          are not discharged and that you may still be
                discharge some debts that are not paid.                              responsible to pay include:

                                                                                             domestic support obligations,
                 Chapter 13: Repayment plan for                                              most student loans,
                             individuals with regular                                        certain taxes,
                             income                                                          debts for fraud or theft,
                                                                                             debts for fraud or defalcation while acting
                                     $235    filing fee                                      in a fiduciary capacity,
                            +         $78    administrative fee                              most criminal fines and restitution
                                                                                             obligations,
                                     $313    total fee
                                                                                             certain debts that are not listed in your
                                                                                             bankruptcy papers,
                Chapter 13 is for individuals who have regular
                                                                                             certain debts for acts that caused death or
                income and would like to pay all or part of their
                                                                                             personal injury, and
                debts in installments over a period of time and to
                                                                                             certain long-term secured debts
                discharge some debts that are not paid. You are
                eligible for chapter 13 only if your debts are not
                more than certain dollar amounts set forth in 11
                U.S.C. § 109.




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                  Warning: File Your Forms on Time                                         A married couple may file a bankruptcy case
                                                                                           together—called ajoint case. If you file a joint
                                                                                           case and each spouse lists the same mailing
                  Section 521(a)(1) of the Bankruptcy Code
                                                                                           address on the bankruptcy petition, the
                  requires that you promptly file detailed
                                                                                           bankruptcy court generally will mail you and
                  information about your creditors, assets,
                                                                                           your spouse one copy of each notice, unless
                  liabilities, income, expenses and general
                                                                                           you file a statement with the court asking that
                  financial condition. The court may dismiss your
                                                                                           each spouse receive separate copies.
                  bankruptcy case if you do not file this
                  information within the deadlines set by the
                  Bankruptcy Code, the Bankruptcy Rules, and                               Understand which services you
                  the local rules of the court.                                            could receive from credit
                                                                                           counseling agencies
                  For more information about the documents and
                  their deadlines, go to:                                                  The law generally requires that you receive a
                  http://www.uscourts.gov/bkforms                                          credit counseling briefing from an approved
                  /bankruptcy_form                                                         credit counseling agency. 11 U.S.C. § 109(h).
                  s.html#procedure.                                                        If you are filing a joint case, both spouses
                                                                                           must receive the briefing. With limited
                                                                                           exceptions, you must receive it within the 180
                Bankruptcy crimes have serious
                                                                                           days before you file your bankruptcy petition.
                consequences
                                                                                           This briefing is usually conducted by
                        If you knowingly and fraudulently conceal                          telephone or on the Internet.
                        assets or make a false oath or statement
                        under penalty of perjury—either orally or                          In addition, after filing a bankruptcy case, you
                        in writing—in connection with a                                    generally must complete a financial
                        bankruptcy case, you may be fined,                                 management instructional course before you
                        imprisoned, or both.                                               can receive a discharge. If you are filing a
                        All information you supply in connection                           joint case, both spouses must complete the
                        with a bankruptcy case is subject to                               course.
                        examination by the Attorney General acting
                        through the Office of the U.S. Trustee, the                        You can obtain the list of agencies approved
                        Office of the U.S. Attorney, and other                             to provide both the briefing and the
                        offices and employees of the U.S.                                  instructional course from:
                        Department of Justice.                                             http://justice.gov/ust/eo/hapcpa
                                                                                           /ccde/cc_approved.html.
                Make sure the court has your
                mailing address                                                            In Alabama and North Carolina, go to:
                                                                                           http://www.uscourts.gov/FederalCourts
                The bankruptcy court sends notices to the mailing                          /Bankruptcy/
                address you list on Voluntary Petition for                                 BankruptcyResources/ApprovedCredit
                Individuals Filing for Bankruptcy(Official Form 101).                      AndDebtCounselors.aspx.
                To ensure that you receive information about your
                case, Bankruptcy Rule 4002 requires that you                               If you do not have access to a computer, the
                notify the court of any changes in your address.                           clerk of the bankruptcy court may be able to
                                                                                           help you obtain the list.




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